           Case 2:21-cv-01194-RSL-SKV Document 16 Filed 12/02/21 Page 1 of 5



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3
4                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
5                                    AT SEATTLE
6
7      LAKE VIEW WEST
       CONDOMINIUM ASSOCIATION,
                                                     CASE NO.
8                                                    2:21−cv−01194−JCC−SKV
                                    Plaintiff(s),
9                         v.                         ORDER REGARDING INITIAL
                                                     DISCLOSURES, JOINT STATUS
10                                                   REPORT, AND
       AMERICAN STATES INSURANCE
       COMPANY et al.,                               EARLY SETTLEMENT
11
12                                Defendant(s).

13                             I. INITIAL SCHEDULING DATES
14         The Court sets the following dates for initial disclosure and submission of the

15   Joint Status Report and Discovery Plan:

16              Deadline for FRCP 26(f) Conference:                        12/23/2021

17              Initial Disclosures Pursuant to FRCP 26(a)(1):             1/6/2022
18              Combined Joint Status Report and Discovery
                Plan as Required by FRCP 26(f)
19              and LCR 26(f):                                             1/13/2022
20         The deadlines above may be extended only by the Court. Any request for an
21   extension should be made by email to Kadya Peter, Courtroom Deputy, at
22   kadya_peter@wawd.uscourts.gov. The parties are directed to meet and confer before
23   contacting the Court to request an extension.
24         If this case involves claims which are exempt from the requirements of FRCP
25   26(a) and 26(f), please notify Kadya Peter, Courtroom Deputy, by email at
26   kadya_peter@wawd.uscourts.gov.
     ORDER REGARDING INITIAL DISCLOSURES, JOINT STATUS REPORT,
     AND EARLY SETTLEMENT − 1
               Case 2:21-cv-01194-RSL-SKV Document 16 Filed 12/02/21 Page 2 of 5



1                      II. JOINT STATUS REPORT & DISCOVERY PLAN
2          All counsel and any pro se parties are directed to confer and provide the Court

3    with a combined Joint Status Report and Discovery Plan (the "Report") by

4    January 13, 2022. This conference shall be by direct and personal communication,

5    preferably a face−to−face meeting, but may be by telephonic conference. The Report

6    will be used to determine if a FRCP 16 conference would be helpful and to set a schedule

7    for the prompt completion of the case.

8          The Report must contain the following information by corresponding paragraph

9    numbers:

10         1. A statement of the nature and complexity of the case.

11         2. A proposed deadline for the joining of additional parties.

12         3. The parties have the right to consent to assignment of this case to a full time

13   United States Magistrate Judge, pursuant to 28 U.S.C. 636(c) and Local Rule MJR 13,

14   to conduct all proceedings. The Western District of Washington assigns a wide range of

15   cases to Magistrate Judges. The Magistrate Judges of this district thus have significant

16   experience in all types of civil matters filed in our court. Additional information about

17   our district's Magistrate Judges can be found at www.wawd.uscourts.gov.

18         4. A discovery plan that states, by corresponding paragraph letters (A, B, etc.),

19   the parties' views and proposals on all items in FRCP 26(f)(3), including the following

20   topics:

21                 (A) initial disclosures;

22                 (B) subjects, timing, and potential phasing of discovery;

23                 (C) electronically stored information;

24                 (D) privilege issues;

25                 (E) proposed limitations on discovery; and

26                 (F) the need for any discovery related orders.

     ORDER REGARDING INITIAL DISCLOSURES, JOINT STATUS REPORT,
     AND EARLY SETTLEMENT − 2
            Case 2:21-cv-01194-RSL-SKV Document 16 Filed 12/02/21 Page 3 of 5



1          5. The parties' views, proposals, and agreements, by corresponding paragraph
2    letters (A, B, etc.), on all items set forth in LCR 26(f)(1), including the following topics:
3                (A) prompt case resolution;
4                (B) alternative dispute resolution;
5                (C) related cases;
6                (D) discovery management;
7                (E) anticipated discovery sought;
8                (F) phasing motions;
9                (G) preservation of discoverable information;
10               (H) privilege issues;
11               (I) Model Protocol for Discovery of ESI; and;
12               (J) alternatives to Model Protocol.
13         6. The date by which discovery can be completed.
14         7. Whether the case should be bifurcated by trying the liability issues before
15   the damages issues, or bifurcated in any other way.
16         8. Whether the pretrial statements and pretrial order called for by LCRs 16(e),
17   (h), (i), and (k), and 16.1 should be dispensed with in whole or in part for the sake
18   of economy.
19         9. Whether the parties intend to utilize the Individualized Trial Program set
20   forth in LCR 39.2 or any ADR options set forth in LCR 39.1.
21         10. Any other suggestions for shortening or simplifying the case.
22         11. The date the case will be ready for trial. The Court expects that most civil
23   cases will be ready for trial within a year after filing the Joint Status Report and
24   Discovery Plan.
25         12. Whether the trial will be jury or non−jury.
26         13. The number of trial days required.

     ORDER REGARDING INITIAL DISCLOSURES, JOINT STATUS REPORT,
     AND EARLY SETTLEMENT − 3
            Case 2:21-cv-01194-RSL-SKV Document 16 Filed 12/02/21 Page 4 of 5



1          14. The names, addresses, and telephone numbers of all trial counsel.
2          15. The dates on which the trial counsel may have complications to be
3    considered in setting a trial date.
4          16. If, on the due date of the Report, all defendant(s) or respondents(s) have not
5    been served, counsel for the plaintiff shall advise the Court when service will be
6    effected, why it was not made earlier, and shall provide a proposed schedule for the
7    required FRCP 26(f) conference and FRCP 26(a) initial disclosures.
8          17. Whether any party wishes a pretrial FRCP 16 conference with the judge
9    prior to the entry of any order pursuant to Rule 16 or setting of a schedule for this case.
10   If yes, indicate whether a party wishes an in−person or telephonic conference.
11         18. List the date(s) that each and every nongovernmental corporate party filed
12   its disclosure statement pursuant to FRCP 7.1 and LCR 7.1.
13         If the parties are unable to agree to any part of the Report, they may answer in
14   separate paragraphs. No separate reports are to be filed. If the parties wish to have a
15   status conference with the Court at any time during the pendency of this action, they
16   should notify Kadya Peter, by email at kadya_peter@wawd.uscourts.gov.
17                             III. PLAINTIFF'S RESPONSIBILITY
18         This Order is issued at the outset of the case, and a copy is sent by the clerk to

19   counsel for plaintiff (or plaintiff, if pro se) and any defendants who have appeared.

20   Plaintiff's counsel (or plaintiff, if pro se) is directed to serve copies of this Order on all

21   parties who appear after this Order is filed. Such service shall be accomplished

22   within ten (10) days after each appearance. Plaintiff's counsel (or plaintiff, if pro se)

23   will be responsible for starting the communications needed to comply with this Order.

24                 IV. JUDGE SPECIFIC PROCEDURAL INFORMATION

25         All counsel and unrepresented parties should review Judge Vaughan's web

26   page for procedural information applicable to cases before Judge Vaughan. The

     ORDER REGARDING INITIAL DISCLOSURES, JOINT STATUS REPORT,
     AND EARLY SETTLEMENT − 4
           Case 2:21-cv-01194-RSL-SKV Document 16 Filed 12/02/21 Page 5 of 5



1    judges' web pages, in addition to the Local Rules, Electronic Filing Procedures for Civil
2    and Criminal Cases, court forms, instruction sheets, and General Orders, can be
3    found on the Court's website at www.wawd.uscourts.gov.
4          V. EARLY SETTLEMENT CONSIDERATION AND NOTIFICATION
5          If settlement is achieved, counsel shall immediately notify Kadya Peter,

6    Courtroom Deputy, at kadya_peter@wawd.uscourts.gov.

7          The parties are responsible for complying with the terms of this Order. The Court

8    may impose sanctions on any party who fails to comply fully with this Order.

9          DATED: The 2nd of December 2021.

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                                              S. KATE VAUGHAN
12                                            United States Magistrate Judge

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     ORDER REGARDING INITIAL DISCLOSURES, JOINT STATUS REPORT,
     AND EARLY SETTLEMENT − 5
